     Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 1 of 39 PageID 13




        Grand total: 104 Calls



17                                                          Screenshots from February 8th, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 2 of 39 PageID 14
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 3 of 39 PageID 15
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 4 of 39 PageID 16
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 5 of 39 PageID 17




2                                                           Screenshot from February 8th, 2021
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 6 of 39 PageID 18




2                                                         Screenshot from February 10th, 2021
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 7 of 39 PageID 19




1                                                           Screenshot from February 12th, 2021
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 8 of 39 PageID 20




4                                                           Screenshot from February 16th, 2021
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 9 of 39 PageID 21




4                                                        Screenshot from February 22nd, 2021
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 10 of 39 PageID 22




2
                                                            Screenshot from February 23rd, 2021
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 11 of 39 PageID 23




3                                                          Screenshot from February 25th, 2021
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 12 of 39 PageID 24




4                                                           Screenshot from February 28th, 2021
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 13 of 39 PageID 25




2                                                            Screenshot from March 1st, 2021
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 14 of 39 PageID 26




5                                                            Screenshot from March 4th, 2021
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 15 of 39 PageID 27




1                                                            Screenshot from March 5th, 2021
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 16 of 39 PageID 28




4                                                            Screenshot from March 9th, 2021
11 :40 �       °
                IT]
            56Case 3:21-cv-01083-S   Document 1-3 Filed 05/12/21                    If 4th
                                                                   Page 17 of 39 PageID 29        .1111    72%.

<                                                                                                            ••
                                                                                                              •


        1
                                                                       Screenshots from March 10th, 2021




                            Wells Fargo
                                        Add note .. #
                          +1 877-647-8552



 History

 iv     Today 11 :37 AM
          Missed call



  "     Yesterday 9:36 AM
        Sent message
        Please text me.


        Yesterday 9:36 AM
          Rejected call



  "       March 8
"       Sent message
        Please text me.



      +
      Add
                                <
                              Share                            Block
                                                                                                    B
                                                                                                 Report


            111                                  0                                       <
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 18 of 39 PageID 30
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 19 of 39 PageID 31




5                                                  Screenshot from March 16th, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 20 of 39 PageID 32




6                                         Screenshot from March 21st, 2021
    Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 21 of 39 PageID 33




4                                                                Screenshot from March 31st, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 22 of 39 PageID 34
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 23 of 39 PageID 35




4                                                        Screenshot from April 2nd, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 24 of 39 PageID 36




4                                                     Screenshot from April 9th, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 25 of 39 PageID 37
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 26 of 39 PageID 38




        3                                              Screenshot from April 11th, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 27 of 39 PageID 39




 3                                                     Screenshot from April 14th, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 28 of 39 PageID 40




1                                                        Screenshots from April 15th, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 29 of 39 PageID 41
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 30 of 39 PageID 42




8                                                          Screenshot from April 19th, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 31 of 39 PageID 43
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 32 of 39 PageID 44




  1                                                        Screenshot from April 21st, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 33 of 39 PageID 45




1                                                          Screenshot from April 22nd, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 34 of 39 PageID 46




3
                                                           Screenshot from April 29th, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 35 of 39 PageID 47




3                                                    Screenshot from May 3rd, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 36 of 39 PageID 48
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 37 of 39 PageID 49




 2                                                  Screenshot from May 5th, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 38 of 39 PageID 50




 2                                                    Screenshot from May 7th, 2021
Case 3:21-cv-01083-S Document 1-3 Filed 05/12/21   Page 39 of 39 PageID 51




3                                                      Screenshot from May 11th, 2021
